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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO
                        The Honorable Michael E. Romero

     In re:
                                                     Case No. 17-17630 MER
     MATTHEW CURTIS WITT,

                Debtor.                              Chapter 7

     REKON, LLC,
                                                     Adv. Case No. 17-01548 MER
                Plaintiff.

     v.

     MATTHEW CURTIS WITT,

                Defendant.

                                          ORDER

       Noel West Lane III (“Lane”) requests the Court take judicial notice of
 three categories of documents pursuant to Federal Rule of Evidence 201,
 made applicable herein by Federal Rule of Bankruptcy Procedure 9017.1

        Pursuant to Rule 201(c)(2), the Court must, in certain circumstances,
 take judicial notice upon request of any party. Here, Lane is not a party.
 Specifically, on May 3, 2019, Lane filed a motion to intervene herein
 pursuant to Federal Rule of Civil Procedure 24,2 which the Court denied in a
 lengthy written opinion entered June 3, 2019. Because Lane is not a party
 to this adversary proceeding, he is without standing to bring the Motion for
 Judicial Notice.

          For the foregoing reasons the Motion for Judicial Notice is DENIED.

     Dated March 31, 2020                          BY THE COURT:


                                                   _________________________
                                                   Michael E. Romero, Chief Judge
                                                   United States Bankruptcy Court


 1
     ECF No. 109 (“Motion for Judicial Notice”).

 2
     ECF No. 76.
